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                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF IDAHO

In re:                                       Case No. 21-00744-NGH

Brenda Vega,                                 Chapter 7

                                  Debtors.


Notice of Motion for Order to Compel Chapter 7 Trustee’s Abandonment of Real Property Located at
3120 Hyde St., Caldwell, ID 83605 and Opportunity to Object and for a Hearing

No Objection. The Court may consider this request for an order without further notice or
hearing unless a party in interest files an objection within [14] days of the date of service of
this notice.

If an objection is not filed within the time permitted, the Court may consider that there is no
opposition to the granting of the requested relief and may grant the relief without further notice
or hearing.

Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy of
the objection shall be served on the movant.

Hearing on Objection. The objecting party shall also contact the Court's calendar clerk to schedule a
hearing on the objection and file a separate notice of hearing.


         Debtor Brenda Vega (“Debtor”) hereby applies to the Court for an Order pursuant to

 pursuant to 11 U.S.C. section 554 compelling Patrick J. Geile, the duly appointed and acting

 Chapter 7 Trustee (“Trustee”) in the above-referenced case to abandon the real property

 commonly known as 3120 Hyde Street, Caldwell, Idaho 83605, located in the County of

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Canyon, and known more specifically as Lot 40 in Block 2 of Powell Estates Subdivision No.

2, according to the official plat thereof, filed in Book 31 of Plats at Page 21, official records of

Canyon County, Idaho (the “Property").

                                                  I.

                                   FACTUAL BACKGROUND

          COME NOW Debtor, pursuant to section 554 of the Code, FRBP 6007 and LBR 6007-1,

and state:

          1.    Debtor filed a Petition in this Court under Chapter 7 of the Bankruptcy Code on
the 12/30/2021 (Docket No. 1).

          2.    Debtor's § 341 Meeting of Creditors was held on 01/27/2022. Debtor has fully

cooperated with the trustee and provided all required documents.

          3.    Debtor co-owns the Property with her father, Baltazar Vega. The Property is

valued on Schedule A as $359,000, which is subject to a $175,000 homestead exemption as noted

on Schedule C, and a mortgage lien in the amount of $83,184.00, which is listed on Schedule D

in favor of Pennymac Loan Services, LLC. Debtor holds a fifty percent (50%) interest in the

home. The value of her 50% interest on the date of filing was $179,500.00.

          4.    On December 16, 2021, Debtor obtained a comparative market analysis (CMA)

from realtor Hisashi Tatsumi of RE/MAX Executives. Per the comparative market analysis, the

top listing price for Debtor's Property would be $359,000.00. Debtor received another CMA

from Mr. Tatsumi dated February 23, 2022. Mr. Tatsumi believed the house could be listed

between $366,000.00 and $372,000.00 if necessary repairs were done on the home. A copy of

this CMA is attached to this motion as Exhibit A.

          5.    The Trustee has been provided all the relevant and requested documents that

would allow him to make informed business decisions as to how to administer the assets of this

Estate.

          6.    The Trustee has not administered any Estate property to date. Debtor believes the

Trustee may administer tax refunds.
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       7.      The subject Property, a single-family residence, is burdensome to the Estate and is

of inconsequential value and benefit to the Estate.

       8.      The following analysis provides the factual basis for the determination that the

asset is either burdensome or of inconsequential value to the estate. The financial analysis is

based on the most recent CMA as that is the highest value the property could be sold for.

               The Property

                       Value: (As of February 23, 2022)                              $ 372,000.00

                       Less:

                       1st Lien, Pennymac Loan Servicing (Schedule D)                $ 83,184.00

                       Cost of Sale at 8%                                            $ 29,760.00

                       Co-Owner's 50% share                                          $ 131,028.00

                       Homestead Exemption                                           $ 175,000.00

                       Net Total                                                    <$ 46,972.00>

                       Total Received by the Estate:                                 $0.00


                                                 II.

                     APPLICABLE LEGAL STANDARDS & ANALYSIS

       9.      Pursuant to § 704(a)(1), trustees are required to: Collect and reduce to money the

property of the estate for which such trustee serves, and close such estate as expeditiously as is

compatible with the best interests of parties in interest. 11 U.S.C. §704(a)(1). A party in interest

has the right to “file and serve a motion requiring the trustee or debtor in possession to abandon

property of the estate.” FRBP 6007(b). After notice and a hearing, the court may “order the

trustee to abandon any property of the estate that is burdensome to the estate or that is of

inconsequential value and benefit to the estate.” 11 U.S.C. § 554(b). The Property at issue in

this motion provides a total net economic recovery to the estate of ZERO, since the lien,

homestead, cost of sale, and co-owner's 50% interest in the Property exceed the value.

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Accordingly, Property is of inconsequential value and benefit to the estate; therefore, the

property should be abandoned.

          10.     Courts have held that § 704(a)(1) allows a trustee “reasonable time” to close a

bankruptcy estate, and an extraordinary delay in closing a bankruptcy estate or holding estate

property should not be tolerated. Stanolind Oil & Gas Co. v. Logan, 92 F.2d 28 (5th Cir. 1937);

Alan N. Resnick, Collier on Bankruptcy, 16th Edition, ¶ 554.02[2], 554-5, (2010). Although

reasonable time is adaptable to the circumstances, the trustee must either “fish or cut bait” when

a party in interest files a motion to compel abandonment. In re Ira Haupt & Co., 398 F.2d 607
(2d Cir. 1968).

          11.     The trustee has not administered any Estate property to date, but Debtor presumes

the Trustee will be administering the sole asset that is not fully exempt, which is the Debtor's

2021 tax refunds. Due to this asset, the Estate may not be fully administered and closed for

several months. In the meantime, the Estate is liable for the Property, which is in need of repairs.

Although Debtor has insurance, the Estate is not currently paying to insure this Property, and

such defects of the Property could potentially bring injury to the Estate.

          12.     A hearing on a motion to compel abandonment is not required if the motion is

unopposed. 1993 Advisory Committee Note to Fed. R. Bankr. P. 6007. If the motion is opposed,

the party opposing the motion must show that denying the motion will likely provide a benefit to

the estate. In re Nelson, 251 B.R. 857 (B.A.P. 8th Cir. 2000). Mere speculation of how property

may benefit the estate is not sufficient. Id.

          13.     The Debtor values the Property at $372,000 based on Debtors’ knowledge of real

estate values, Mr. Tatsumi's experience in the real estate field, and Debtor's personal knowledge

about the condition of the subject Property.

          14.     The Trustee has been provided all the relevant and requested documents that

would allow him to make informed business decisions as to how to administer the assets of this

Estate.


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       15.     Based on the total recovery the asset listed above will garner (ZERO), the denial

of this motion will not likely provide a benefit to the estate. See. In re Nelson, 251 B.R. 857

(B.A.P. 8th Cir. 2000).

       WHEREFORE, Debtor respectfully prays for relief as follows:

       1.       Grant this Motion Compelling the Abandonment of this property from the Estate;

       2.       To the extent that the value of the assets in this case exceed the exemption

amounts, the value is burdensome or of inconsequential value to the estate; and

       3.       For such other and further relief as is just and equitable under FRBP 54(c).

DATE: February 25, 2022

                                                      AVERY LAW OFFICE


                                                      /s/ Holly Sutherland_______________
                                                      Holly Sutherland, Counsel for Debtor




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